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          In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                        No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                        Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                            ORDER

         On April 18, 2005, defendant filed a Motion in Limine to Exclude Testimony From
Martin Devere Regarding the Appropriateness of a 1.25 Overrun Factor, document 313. Plaintiff
filed a response to defendant’s motion on April 28, 2005, document 330. Defendant’s motion is
GRANTED in part and DENIED in part. Mr. Devere will be permitted to testify regarding the
appropriateness of a 1.25 overrun factor based on his visit to Precision Pine’s sawmill,
conversations with Mr. Porter about that mill and Precision Pine’s other mills, the logs used by
Precision Pine in the mid-1990s as well as Mr. Devere’s years of experience with ponderosa pine
sawmills in the Southwest, including the determination of overrun factors with respect to those
mills. The Court will not permit testimony regarding the Beck study, nor testimony regarding
conclusions based on the Beck study.

IT IS SO ORDERED.

                                                    s/ George W. Miller
                                                   GEORGE W. MILLER
                                                   Judge
